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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL
 DIVERSITY, et al.,

        Plaintiffs,

        v.
                                                      CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.,

        Defendants.


                      DECLARATION OF MICHAEL MCGRATH

       I, Michael McGrath, declare the following on the basis of personal knowledge to which I

am competent to testify.

1.      I submit this declaration in support of the Sierra Club in the above-captioned action as

both a member and staff member of the Club. I joined and became a staff member of the Sierra

Club in 2019.

2.      The Sierra Club is a national non-profit grassroots environmental organization with

more than 684,900 members across the United States dedicated to practicing and promoting the

responsible use of the earth’s ecosystems and resources; educating and enlisting humanity to

protect and restore the quality of the natural and human environment; and using all lawful means

to carry out these objectives. Sierra Club’s Florida Chapter has 33,460 members. Sierra Club’s

interests encompass a wide range of environmental issues, including wildlife.

3.      I earned a bachelor’s degree in political science from Xavier University in 2018, with a

minor in environmental studies. After graduation, I worked for regional land trust in Western

Massachusetts, called the Mount Grace Land Conservation Trust. There, I helped facilitate a
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regional conservation partnership known as the North Quabbin Regional Landscape Partnership,

a coalition of land trusts, state agencies, municipal open space committee members, willing

landowners, and concerned citizens. During my tenure with Mount Grace, I organized outreach

events and educated landowners and municipalities on the legal and conservation tools at their

disposal for preserving their land in perpetuity.

4.         In 2019, I moved to Florida. I lived in Fort Myers in Lee County until 2022. I now live

in Saint Petersburg in Pinellas County, Florida.

5.         I still regularly visit Southwest Florida to see my family and friends, and to recreate on

public lands there. I spend a considerable amount of time enjoying and trying to help protect the

natural environment and wildlife in Southwest Florida. I believe our unique ecosystem and

wildlife are vital to the communities here and for biodiversity in general.

6.         I was hired as an Organizing Representative with Sierra Club Florida in 2019 to help

protect and conserve endangered species and the natural ecosystems that are unique to Southwest

Florida.

7.         In 2021, I participated in the Florida Master Naturalist program focusing on freshwater

systems and wetlands. My motivation for taking this course was to promote awareness,

understanding, and respect for Florida’s natural world–both for Florida’s residents and visitors.

Part of what makes these lands so special is the unique flora and fauna that can be found on these

lands including both Florida panthers and crested caracara.

8.         In 2022, I was promoted to Lead Organizer with Sierra Club Florida.

9.         My work focuses on supporting and expanding our volunteer-based grassroots efforts to

promote the protection of Florida’s remaining wildlands and the restoration of the Greater

Everglades ecosystem. I have been involved in efforts to protect the mosaic of private and
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public lands that wildlife depend upon for their continued survival. For example, I led grassroots

organizing and advocacy efforts to oppose the creation of three new toll roads extending 330

miles from the Panhandle to Collier County through rural and wild Florida. The proposed M-

CORES toll roads would have permanently paved over valuable lands and infringed upon

wildlife habitat that the endangered Florida panther, crested caracara, and other listed and non-

listed species, rely upon for their continued survival.

10.      Personally, I recreate in and enjoy using public lands and open spaces for hiking,

camping, biking, landscape and wildlife photography, birding, running, and quiet contemplation.

I have frequented a number of public lands and trails in Southwest Florida such as the CREW

Land and Water Trust Lands, including CREW’s Bird Rookery Swamp, Marsh Trails, Cypress

Dome Trails, and Flint Pen Strands. I also enjoy utilizing trails on other nearby preserves such

as Audubon Corkscrew Swamp Sanctuary, Caracara Prairie Preserve, and the Florida Panther

National Wildlife Refuge.

11.      In my role as a Sierra Club staff member, I have helped to coordinate activities to

oppose poorly planned developments in both Eastern Collier County and Lee County, including

the Bellmar project. As an organization, the Sierra Club believes that these development

proposals run counter to our mission “to explore, enjoy, and protect” as they would bring more

sprawl and vehicular traffic to the lands and roads of the region, and further imperil threatened

and endangered species. Sierra Club has also opposed and is challenging here EPA’s transfer of

404 permitting authority to Florida, and the underlying agency actions by the Corps and USFWS,

for failing to comply with federal law. Both the Bellmar and Kingston projects are now seeking

permits through the state 404 program.

12.      The Bellmar project is a proposed residential development in Collier County, Florida.
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Overall, Bellmar would add more than 4,000 homes and 45,000 additional daily vehicle trips

about one mile away from the Florida Panther National Wildlife Refuge and destroy over 140

acres of wetlands. The project would also destroy more than 1,700 acres of Primary Zone

panther habitat—the most valuable habitat for the species. Vehicular collisions, which have

already killed 13 panthers this year and are a leading cause of death for this iconic and

endangered species, would necessarily increase.

13.      The Bellmar project is within panther habitat and is nearby to areas that I regularly visit

in the hope of viewing panthers. The Bellmar development would be located south of Oil Well

Road, in an area between the Florida Panther National Wildlife Refuge and Big Cypress National

Preserve to the south and the CREW Wildlife and Environmental Area and Audubon Corkscrew

Swamp Sanctuary to the north and northwest.

14.      The project would also displace a breeding pair of Florida crested caracara, another

threatened species that I also have an interest in viewing. The Bellmar project will displace this

breeding pair from their nesting and foraging habitat, forcing them to look for other habitat in

competition with other breeding pairs. The displacement of this breeding pair will make it

harder for me to view the caracara and will harm their ability to reproduce, making it less likely I

will see other caracara in the future.

15.      Sierra Club has submitted numerous letters opposing the Bellmar development to

agency and government officials and brought public attention to our organization’s concerns for

how this development would negatively impact wildlife conservation, wetlands, and the

hydrological sheet flow.

16.      The Kingston project is a proposed 6,676-acre residential development in southeast Lee

County on the east end of Corkscrew Road. Overall, Kingston would add more than 10,000
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residential units, 700,000 square feet of commercial space, 240 hotel units, and considerable

vehicular traffic. The Kingston project is bordered by conservation lands such as the Imperial

Marsh Preserve and the Corkscrew Regional Ecosystem Watershed (CREW) lands to the south.

Approval of the development would run counter to the goals of the Corkscrew Regional

Ecosystem Watershed, the largest intact watershed in Southwest Florida, straddling Lee and

Collier Counties. The mosaic of CREW lands helps to purify and recharge groundwater for the

regional drinking water supply, offers natural flood protection, provides habitat for wildlife, and

offers public lands for recreation that I utilize for a variety of activities including wildlife

viewing for both the caracara and FL panther.

17.     According to the technical assistance report from USFWS, Kingston would cause

disturbance to the caracara from development and construction activities, loss of foraging and

nesting habitat, and a loss of reproductive success for the known breeding pair on the site.

USFWS stated that the loss of 3,233.36 acres of suitable caracara foraging and nesting habitat in

the Project footprint is the equivalent of losing one breeding pair of caracara.

18.     Kingston would also destroy 3,400 acres of panther habitat (including primary zone

habitat), equating to the take of one panther, and result in vehicular strike take of 16 panthers per

year (including from construction traffic), which USFWS puts in a range of 3-22 each year.

19.      The destruction of habitat that this wildlife depends on would negatively impact my

ability to encounter them in the wild and on the public lands I have frequented in Southwest

Florida and intend to explore more deeply in the future. I plan to continue utilizing these lands

in the future for recreational purposes and for wildlife viewing.

20.      This litigation is essential to protecting the interests of Sierra Club and my interests as a

member of Sierra Club. Because of recent events, the need for relief has become urgent.
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21.      On October 19, 2023, the Court held a hearing in this case. Our attorneys asked the

Court to prioritize our endangered species related claims because we hoped to avoid having to

return to the court on an emergency basis were major projects of concern to move forward.

22.      Then, on November 6, 2023, the Florida Department of Environmental Protection

(“FDEP”) issued a thirty-day public notice for Bellmar, scheduling a public hearing for

December 7, 2023. According to the notice, FDEP has received final comments on the

application from U.S. Fish and Wildlife Service (“USFWS”). These notices are attached as

Exhibit 1.

23.      USFWS prepared a document it is calling a technical assistance report for the Bellmar

and Kingston projects. I am concerned that these reports are not a lawful, adequate substitute for

the analyses required under the Endangered Species Act to determine the impacts of projects on

protected species and the mitigation measures required. In addition, the documents anticipate

significant take of panthers and caracara. I am concerned that through USFWS’ Programmatic

Biological Opinion, the agency is granting developers protection against liability for the take of

these species without setting any take limit.

24.      On November 9, 2023, our attorneys asked FDEP to postpone the Bellmar hearing for

sixty days or until the Court ruled on our ESA-related claims. They also asked DOJ whether

USFWS intended to comment on the permit and whether the Environmental Protection Agency

(“EPA”) intended to comment or otherwise take action related to the Bellmar permit.

25.      On November 16, 2023, our attorneys learned that EPA had informed FDEP that it was

reserving its right to comment on the Bellmar permit within 90 days of the public notice.

26.      On November 17, 2023, FDEP declined our request to postpone the hearing on the

Bellmar permit. On November 21, 2023, DOJ advised our attorneys that USFWS was not going
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to make any further comment on the Bellmar permit. And in response to an inquiry from our

attorneys, on November 28, 2023, DOJ could not say whether EPA would, or intended to,

comment on the permit.

27.        The Bellmar development’s website says that the developer anticipates obtaining

permits and beginning construction in 2023. Attached is a print out of the FAQ page on the

website that I last visited on November 30, 2023. (Exhibit 2.)

28.        On November 20, 2023, FDEP issued a 30-day public notice for the Kingston project.

(Exhibit 3.) On November 21, our attorneys asked FDEP to postpone action on that project as

well, but to my knowledge they have not yet heard back.

29.        Sierra Club represents my interests in seeking to ensure that future development projects

in Florida do not evade federal laws that Congress enacted to protect and recover species like the

critically endangered Florida panther and the threatened caracara. Sierra Club represents my

interests in making sure that I am not irreparably harmed by the imminent issuance of these

permits.

30.        My interests would be protected and my injuries would be redressed by an order

reversing EPA’s approval of Florida’s 404 program, and the underlying related actions, including

USFWS’ Programmatic Biological Opinion and Incidental Take Statement. In the interim, an

urgent order from the Court is required to prevent irreparable harm to my interests that will result

if the state is allowed to permit the Bellmar development through its unlawful 404 program.

           I declare under penalty of perjury that the foregoing is true and correct.

           Executed this 1st day of December 2023.



                                        ______________________________
                                        Michael McGrath
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                          Exhibit 1
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                                                                                               Ron DeSantis
                            FLORIDA DEPARTMENT OF                                                  Governor

                           Environmental Protection                                           Jeanette Nuñez
                                                                                                 Lt. Governor
                                              South District                                 Shawn Hamilton
                                              PO Box 2549                                          Secretary
                                       Fort Myers FL 33902-2549
                                      SouthDistrict@FloridaDEP.gov


                                           November 6, 2023


                                       STATE 404 PERMIT
                                        PUBLIC NOTICE


                                  Permit Application No. 396364-001

TO WHOM IT MAY CONCERN: The Department of Environmental Protection has received an
application for a State 404 permit pursuant to 62-331, Florida Administrative Code, as described below:

APPLICANT:            Collier Enterprises Management Inc.
                      999 Vanderbilt Beach Road, Suite 507
                      Naples, Florida 34108
                      (239) 261-4455

LOCATION: The Project site is located in Section 34, Township 48 South, Range 28 East; and Sections
1, 2, 3, 10, 11, 12, 15, and 22; Township 49 South; Range 28 East; Collier County. More specifically,
the Project is located east of Golden Gate Estates and is approximately 2.29 miles south of Oil Well
Road (CR 858).

APPROXIMATE CENTRAL COORDINATES:
Latitude 26.219790° Longitude -81.492157°

PROJECT PURPOSE: The overall project purpose is to construct a master-planned mixed-use community
east of Golden Gatge Estates in Collier County.

PROPOSED WORK: The applicant seeks authorization to discharge dredge or fill material into “waters
of the United States” (WOTUS). The proposed discharges would total approximately 144 acres of features
deemed to be WOTUS for purposed of this application. Impacts to these 144 acres of features deemed to
be WOTUS would occur in connection with construction of a master-planned mixed-use community,
including roads, utility features, pedestrian trail crossings, graded slopes along stormwater management
and development areas, and commercial areas.

The site of the village and town center is a 5,105 acre area. Planned features within that area include an
approximately 1,000 acre village, a 350 acre commercial town center, 750 acres of continued agriculture
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activities, 400 acres of water management features and other ancillary components, and over 2,500 acres
of conservation lands.

Of the 144.23± acres of wetland impacts, 132.23± acres are associated with direct impacts and 12.00±
acres are associated with secondary impacts. Structures to be erected on fills include roads, utilities, and
pedestrain trail crossings, commercial areas, and graded slopes along the perimeters of development areas
and stormwater management lakes. Excavations primarily include the construction of stormwater
management lakes, which are primarily located along the perimeters of the existing agricultural fields.
The wetlands that would be impacted by the project are primarily limited to lower quality wetlands which
are located within areas of historical and current agricultural operations.

All wetlands and surface waters delineated using Chapter 62-340, F.A.C. and regulated under Part
IV of Chapter 373, F.S. were determined to be waters of the United States.

The Project will be constructed in three phases that each correspond with three proposed surface water
management basins. In accordance with Section 5.3.2 of the State 404 Applicant’s Handbook, the
applicant has provided a Long-Term Planning Document that addresses the phasing of the Project.
According to the plan, of the Project’s 144.23± acres of WOTUS wetland impacts, 17.65± acres are
associated with Basin 1; 79.07± acres are associated with Basin 2; and 47.51± acres are associated with
Basin 3.

DEP Nexus link to Long-Term Planning Document:
https://depedms.dep.state.fl.us:443/Oculus/servlet/shell?command=getEntity&[guid=45.49904.1]&[profile=Permitting_Author
ization]

EXISTING CONDITIONS: The Project site contains a variety of land cover types, including a mix of
previously-disturbed areas used for large-scale row crop production and other agricultural purposes as
well as native habitats. A total of 69 vegetative associations and land uses, as defined by the Florida Land
Use, Cover and Forms Classification System (FLUCFCS) codes, were identified on the property. The
description and locations of these land uses can been seen on the plan drawings. The dominant land use
on the property is agricultural. The land use types Cropland and Pastureland (FLUCFCS Code 210), Row
Crops (FLUCFCS Code 214), Rural Open Land (FLUCFCS Code 260), Fallow Cropland, Hydric
(FLUCFCS Code 2611), and Low Pasture, Hydric (FLUCFCS Code 262) comprise approximately 43.7
percent (2,231.21± acres) of the site.

The native areas on-site are dominated by Cypress, Disturbed (FLUCFCS Code 6219), which comprises
approximately 23.8 percent (1,214.40± acres) of the Project site, and Wetland Mixed Hardwood Conifer,
Disturbed (FLUCFCS Code 6309), which comprises approximately 9.2 percent (470.38± acres) of the
Project site.

Wetlands deemed to be jurisdictional WOTUS constitute a total of 2,283.22± acres or approximately 44.7
percent of the Project site. Of the wetlands deemed to be jurisdictional, 126± acres or approximately 5.8
percent would be impacted by the project. The total wetlands on the Project site are generally forested and
are dominated by cypress with areas of cypress/pine, hydric pine, mixed wetland hardwood, and
freshwater marsh habitats. The wetlands contain varying degrees of exotic infestation including the exotic
species Brazilian pepper (Schinus terbinthifolia), primrose willow (Ludwigia sp.), torpedograss (Panicum


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repens), paragrass (Urochola mutica), and trompetilla (Hymenachne amplexcaulis). Exotic vegetation is
most dense where wetlands border agricultural fields. The hydrology of the landscape within and
surrounding the Project site has been historically affected by roadways, ditches, and permitted agricultural
activities. The wetlands that would be impacted by the Project are primarily limited to lower quality
wetlands which are part of the historical agricultural operations.

AVOIDANCE AND MINIMIZATION INFORMATION: The applicant proposes to conform to Collier
County’s Rural Land Stewardship Program (RLSP), which is designed by Collier County to preserve lands
with the highest natural resource values and identifies certain lands with relatively low natural resource
values (such as cleared agricultural fields) for development of new communities.

The applicant proposes to utilize existing agricultural fields for the planned development to the extent
possible and in order to avoid and minimize direct impacts to the natural wetland habitats on-site. The
planned impacts to wetlands deemed to be jurisdictional are primarily for infrastructure construction such
as road crossings and surface water management facilities.

The Project would avoid impacts to the majority of the existing native habitats. For example, the Project
would avoid impacts to the Camp Keais Strand, which is located on the Project’s eastern boundary. The
proposed site plan has been designed to minimize impacts to listed species by utilizing agricultural fields
for development, thereby preserving the majority of the natural wetland and upland habitats on-site.
Approximately 94.2 percent (2,156.97± acres) of the wetlands on-site will be preserved. The proposal
would establish 2,570.66± acres of preserved lands (the Conservation Area). Priority has been given to
preserving higher quality native vegetation that provides habitat for listed species.

To avoid and minimize impacts to protected species, the Conservation Area will be managed as habitat
for the listed species documented on the Project site, in accordance with a Listed Species Management
and Human-Wildlife Coexistence Plan. Management objectives for the preserves adjacent to development
will be implemented to limit prey and foraging conditions that otherwise may attract panthers and bears;
therefore, discouraging these species from accessing areas within the development. Preserves internal to
the Project site will be managed to limit panther prey species such as white-tailed deer (Odocoileus
virginianus) and feral hogs (Sus scrofa). The Project site design includes a lake buffer between the
proposed development areas and Camp Keais Strand. The goal of this buffer is to limit potential access to
development areas by large mammals. Where construction of a lake buffer is not feasible, wildlife fencing
will be constructed to deter access by these species. Since the majority of the Project is currently in active
agricultural operation, the proposed on-site preservation, enhancement, and restoration activities
(described in more detail below) are anticipated to result in a net benefit to the conservation of fish,
wildlife, listed species, and their habitats.

COMPENSATORY MITIGATION: The proposed compensatory mitigation plan for the Project has been
designed in accordance with Section 8.5.2 of the 404 Applicant’s Handbook to compensate for
unavoidable impacts to jurisdictional waters. The proposed Conservation Area consists of 2,570.66±
acres, of which approximately 2,100.17± acres will be utilized as compensatory mitigation for impacts to
areas deemed to be jurisdictional wetlands. The proposed mitigation for wetland impacts includes wetland
preservation and enhancement. Exotic vegetation will be hand removed from 1,871.99± acres of wetlands.
Mechanical removal of exotics and supplemental planting will be conducted in 228.18± acres of wetlands.
In addition to the compensatory mitigation, the mitigation plan also includes the enhancement and

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preservation of 429.55± acres of existing upland habitat important to the life cycle of wetland-dependent
wildlife species. These 429.55± acres are included in the mitigation plan, but are not used to offset
functional loss associated with impacts to wetlands.

The proposed compensatory mitigation is located within the same watershed as the impact site and in a
location where it is most likely to successfully replace lost functions and services. The compensatory
mitigation for the Project is located within a regional flow-way and wildlife corridor and includes high-
value habitat targeted by the Florida Forever Program within Camp Keais Strand. The South Florida Water
Management District has also identified the Camp Keais Strand as a valuable resource for restoration and
protection because it would provides attenuation of flood peaks, water quality improvements, and long-
term protection of core wetland ecosystems.

A Uniform Mitigation Assessment Methodology (UMAM) functional analysis was prepared and provided
with the application for the Project. The UMAM analysis indicates that the functional loss associated with
wetland impacts for the Project totals 70.85 functional units. The functional gain associated with the
proposed compensatory mitigation totals 128.57 functional units. Therefore, the UMAM analysis
demonstrates that the proposed compensatory mitigation will more then offset the functional loss
associated with the Project and yield a net gain of 57.72 functional units.

The proposed mitigation would occur in three phases. Each of the three Mitigation Areas corresponds to
the basin number it offsets. Mitigation Area 1 is comprised of 645.04± acres and results in a functional
gain of 23.89 units. Mitigation Area 2 is comprised of 1,011.61± acres and results in a functional gain of
60.21 units. Mitigation Area 3 is comprised of 873.07± acres and results in a functional gain of 42.76
units. Therefore, each Mitigation Area generates more than enough functional gain to offset the functional
loss associated with each corresponding basin or phase of construction.

CULTURAL RESOURCES: An archaeological and historical survey was conducted by Archaeological
Consultant’s, Inc. (ACI) in July 2006 for the Big Cypress Stewardship District, which encompasses the
project site. No archaeological or historic sites were documented during the survey. The Florida
Department of State, Division of Historical Resources (DHR) issued a letter dated August 29, 2007
indicating concurrency with ACI’s determination. The DHR letter states that the development of the
Project site will have no effect on any historic properties eligible for listing in the National Register of
Historic Places, or otherwise of historical or archaeological value.

The Department has requested review from the State Historic Preservation Officer (SHPO) and those
federally recognized Tribes with concerns in Florida and the permit area. No comments have been
received.

FEDERALLY AND STATE-LISTED SPECIES: The Department has received final comments from the
Florida Fish and Wildlife Conservation Commission (FWC) and the U.S. Fish and Wildlife Service
(USFWS), dated September 18, 2023.

FWC staff has updated information originally included in the Public Notice dated May 25, 2022. The
following determinations of the project’s effect to federally listed species is as follows: “no effect” for
the Florida scrub-jay; “may affect but is not likely to adversely affect” the eastern indigo snake,
everglade snail kite, red-cockaded woodpecker, and the wood stork; and “may affect and is likely to

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adversely affect” the Audubon’s crested caracara, the Florida bonneted bat, the tricolored bat, and the
Florida panther. For State-listed species, the project site may provide habitat for the following: Big
Cypress fox squirrel, Everglades mink, Florida sandhill crane, Gopher tortoise, Little blue heron,
Roseate spoonbill, Southeastern American kestrel, and Tricolored heron.

State 404 permit conditions have been recommended by the FWC and the USFWS for these species,
with the exception of the everglade snail kite and the Florida scrub-jay. Additional information
regarding the assessment of adverse impacts to species and their habitats can be found in the FWC and
USFWS correspondence.

DEP Nexus link to FWC/FWS comments and permit conditions:
https://depedms.dep.state.fl.us:443/Oculus/servlet/shell?command=getEntity&[guid=45.101686.1]&[profile=Permitting_Auth
orization]

Discussions are provided below for federally listed species that may be affected by, and are likely to be
adversely affected by, the proposed project. These discussions include summaries of recommended
permit conditions that will address the anticipated adverse impacts. The USFWS provided clarification
to the Department regarding the final conclusions of the project’s effects for these species, so the
wording may differ slightly from the FWC’s letter. In addition, the USFWS provided clarification that
one large mammal crossing is their recommended permit condition for this project, rather than five
crossings.

Florida panther: One large mammal wildlife crossing shall be constructed on Oil Well Road,
approximately 1.44 miles east of Desoto Boulevard, to maintain habitat and corridors currently used by
panthers. While this crossing is not located within the project footprint, it is proposed adjacent to the
project, and the construction of this crossing is required for approval of this permit. Contributions to
the Paul J. Marinelli Fund will be made to fund additional crossings, education and other conservation
efforts associated with this permit. These contributions include the deposit of $350 per acre of land
within the development footprint of the Project no later than 90 days after the closing of the first
dwelling unit sold within the project, and transfer fee provisions of $200 in the deed for each
residential unit constructed (including the initial sale and each re-sale) shall be established. Educational
information regarding panthers and pets, and information on how to live with wildlife, shall be
included in the Homeowner Association required documents provided to residents. USFWS staff
concluded that the project “may affect and is likely to adversely affect” the Florida panther but “is not
likely to jeopardize” the species, provided the recommended permit conditions are included in the State
404 permit.

While there is one crossing associated with this application, the USFWS in their comments also
considered four additional crossings associated with another project, Rural Lands West, Permit
Application No. 396966-001. The applicant will, at its sole cost and expense, construct or fund the
construction of a total of five wildlife crossings within the geographic region where this and proposed
Rural Lands West project is located, if both projects are permitted and constructed.

DEP Nexus link to the wildlife crossing construction plans:
https://depedms.dep.state.fl.us:443/Oculus/servlet/shell?command=getEntity&[guid=45.100890.1]&[profile=Permitting_Auth
orization]



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DEP Nexus Link to the Traffic Analysis Study:
https://depedms.dep.state.fl.us:443/Oculus/servlet/shell?command=getEntity&[guid=45.73395.1]&[profile=Permitting_Auth
orization]

Florida bonneted bat and the tricolored bat: Cavity tree and roost surveys for bats are required 30 days
prior to removal. If either species is found, the permittee shall contact the USFWS for technical
assistance. Activities with heavy equipment shall not occur within a 250-foot buffer of known or
suspected bat roosts. The proposed buffer lake system shall be created, and preservation and
enhancement of 2,100.17± acres of on-site wetlands is required to promote bat foraging opportunities.
Riparian habitat shall be enhanced by planting native vegetation along the lake shorelines (i.e., littoral
zone plantings), and planting of native trees and shrubs within open space and buffer areas is required.
Within the proposed Conservation Areas, mature trees and snags shall be retained, and prescribed fire
will be used as a management tool. Widespread application of insecticides shall be avoided in areas
where bats are known or expected to forage or roost. International Dark-Sky Association lighting
initiatives will be encouraged. USFWS staff concluded that the project “may affect and is likely to
adversely affect” the Florida bonneted bat and the tricolored bat but “is not likely to jeopardize” the
species, provided the recommended permit conditions are included in the State 404 permit.

Audubon’s crested caracara: Prior to construction, surveys for caracara during nesting season are
required within 4,920 feet from previously documented or newly discovered nests. Activities shall be
conducted outside of caracara nesting season if within a 984-foot buffer of documented nest sites, with
additional avoidance conditions, and if activities are to occur in the most recent nesting season,
restoration shall be required per condition. USFWS staff concluded that the project “may affect and is
likely to adversely affect” the Audubon’s crested caracara but “is not likely to jeopardize” the species,
provided the recommended permit conditions are included in the State 404 permit.

OTHER INFORMATION:
Please note that, to advance the objectives of the RLSP, Collier County requested that the applicant file
an amendment to the Longwater Village Stewardship Receiving Area (SRA) to create a town SRA. The
footprint of the requested town SRA would overlap with the current Longwater Village footprint and
with the northern tip of the footprint of the Project but would not change the footprint of either
Longwater Village or the Project. The applicant agreed and filed the requested amendment with Collier
County on January 27, 2022. The amendment establishing a town SRA was approved by Collier County
on June 27, 2023. The footprint, overall timing of development and acreage of impacts (including
WOTUS impacts) does not change as a result of the amendment.

Wetlands and surface waters on the Project site were delineated using Chapter 62-340, F.A.C. and are
regulated under Part IV of Chapter 373, F.S. In accordance with Section 1.1 of the State 404
Applicant’s Handbook, the Department will treat any wetlands or other surface waters delineated in
accordance with Chapter 62-340, F.A.C. and regulated under Part IV of Chapter 373, F.S., as WOTUS,
unless the applicant demonstrates that those features are not WOTUS. Subsequent to the initial public
notice for the Project on August 16, 2022, the U.S. Supreme Court issued a decision (Sackett v. EPA)
holding that wetlands are subject to Clean Water Act (CWA) jurisdiction if they are adjacent to “a
relatively permanent body of water connected to traditional interstate navigable waters” and have a
“continuous surface connection with that water.” Notwithstanding the intervening decision in Sackett v.



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EPA, the Applicant has not requested a determination that any features delineated in accordance with
Chapter 62-340, F.A.C. are not WOTUS

COMMENTS regarding the potential authorization of the work proposed should be submitted in writing
through the business portal (Public Comment | DEP Business Portal (fldepportal.com) or to Toby
Schwetje at Florida Department of Environmental Protection, South District Office, PO Box 2549, Fort
Myers, Florida 33902-2549 by the conclusion of the Public Meeting, for which the date is forthcoming.
Written comments will be made part of the record and should reference the above permit application
number. Objections must be factual, specific, and fully describe the reasons upon which any objection is
founded. Any comments received will be considered by the Department to determine whether to issue,
modify, condition, or deny a permit for this proposal.

EVALUATION: The determination as to whether a permit will be issued, or a public meeting held, is
based on an evaluation of all relevant factors, including the public comments received and the effect of
the proposed work on the public interest, including, but not limited to, fish, wildlife, historical resources,
and pollution. The specific permit decision criteria can be found in Chapter 62-331, Florida Administrative
Code.

The Department is soliciting comments from the public; federal, state, and local agencies and officials;
Indian Tribes; and other interested parties in order to consider and evaluate the impacts of this proposed
activity. To make this consideration, comments are used to assess impacts to endangered species, historic
properties, water quality, general environmental effects, and other public interest factors. Comments are
also used to determine the need for a public meeting and to determine the overall public interest of the
proposed activity.

FOR FURTHER INFORMATION regarding this application, please visit the State 404 Permit File at:
https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
documents/ST404_396364/facility!search?pagination=true&electronicDocument.airDivision=false&ele
ctronicDocument.waterDivision=false&electronicDocument.wasteDivision=false&electronicDocument.
documentType=&electronicDocument.dateFrom=&electronicDocument.dateTo=&electronicDocument.
dateReceivedFrom=&electronicDocument.dateReceivedTo=&electronicDocument.subject=&electronic
Document.facilityId=ST404_396364&electronicDocument.permitId=&electronicDocument.facilityDistr
ict=&electronicDocument.facilityCounty=&electronicDocument.sortCriteria=&tagConfig.criteriaTagTy
pe=regular&tagConfig.genInfoTagType=regular&tagConfig.listTagType=short&showBreadCrumb=fals
e&page=1 ,or contact the project manager, Toby Schwetje, in writing at Florida Department of
Environmental Protection, South District Office, PO Box 2549, Fort Myers, Florida 33902-2549; by
electronic mail at Toby.Schwetje@floridadep.gov, or by telephone at (239)344-5631. Please include the
permit application number referenced at the top of this page in any correspondence.

PUBLIC MEETING: Based on public interest previously expressed by concerned parties pertaining to
the Bellmar Project, a public meeting will be scheduled to be held in Collier County. The date of the
public meeting will be forthcoming.




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                              PUBLIC MEETING AGENDA
                 Collier Enterprises Management, Inc. Bellmar Villages
                           DEP Application No. 396364-001


DATE AND TIME: Dec. 7, 2023, 4 – 7 p.m. (EST)
PLACE:              Collier Public Library – Naples Regional Branch
                    650 Central Ave.
                    Naples, FL 34102



PURPOSE: The Florida Department of Environmental Protection (DEP) will hold a public
meeting to receive oral and written public comments on the above referenced State 404
permit application for the proposed Bellmar development in Collier County. DEP issued
a Public Notice on Aug. 16 2022, and Nov. 6, 2023, notifying the preparation of a draft
permit. A public meeting notification was published on Nov. 6, 2023.

The public meeting will utilize an open house format with a series of topical meeting
stations to provide information on the requested meeting topics and will include
opportunities for the public to both ask questions and provide written and oral comments
during the meeting.

The permit application and related application information (DEP File No. 396364) are
available online.

Concurrent Agenda Topics (Information Stations)
   1. Introduction and Meeting Logistics (Welcome and logistics provided throughout
      meeting at the Welcome and Registration Desk)
   2. Regulatory Review, Procedures and Rules (DEP)
   3. Permitting Timeline (DEP)
   4. Draft Permit Information (DEP)
   5. Mitigation Plan (DEP)
   6. Wildlife Conditions for Draft Permit (DEP)
   7. Regulatory Compliance Information (DEP)
   8. Public Comment (DEP)

   NOTE: Public participation is solicited without regard to race, color, national origin,
   age, sex, religion, disability or family status. Persons who require special
   accommodations under the American with Disabilities Act (ADA) or persons who
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require translation services (free of charge) are asked to contact Stacie Taylor at 850-
245-2118 or LEP@FloridaDEP.gov at least ten (10) days before the meeting. If you
have a hearing or speech impairment, please contact the agency using the Florida
Relay Service, 800-955-8771 (TDD) or 800-955-8770 (voice).

Persons unable to attend the meeting in-person and wishing to provide public
comments may provide a copy of their written comments by email to Toby Schwetje
via phone at 239-344-5631; or via email at Toby.Schwetje@FloridaDEP.gov. Written
comments may also be submitted to DEP during the meeting. All comments regarding
the permit application should be provided to DEP prior to the conclusion of the
meeting. All comments received will be carefully reviewed and taken into
consideration as DEP takes final action (approves or denies) the application for the
State 404 Permit.
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                           Exhibit 2
11/30/23, 12:23 PMCase 1:21-cv-00119-RDM   Document  135-4
                                                Bellmar            Filed
                                                        Village – Town    12/04/23
                                                                       of Big Cypress   Page 19 of 27




                     Frequently Asked Questions




https://bellmarvillage.com                                                                              6/10
11/30/23, 12:23 PMCase 1:21-cv-00119-RDM      Document  135-4
                                                   Bellmar            Filed
                                                           Village – Town    12/04/23
                                                                          of Big Cypress   Page 20 of 27




                    Why is the Town of Big Cypress coming back?                                     


                    What are the benefits of the Town of Big Cypress?                               


                    Are the Town of Big Cypress and the three new Villages
                    being created as a bedroom community to Naples?                                 



                    Where is the Town of Big Cypress located?                                       


                    When will development activities commence? When will
                    new homes go on the market?
                    Rivergrass Village, Longwater Village and Bellmar Village have been
                    approved at the County level. Additional public spaces, both residential
                    and commercial, are currently under review by the County and will be
                    incorporated into the Town of Big Cypress in the future.


                    Construction permits from the County, State and Federal agencies are
                    expected in 2023. Utility and infrastructure construction is expected to
                    begin in 2023, with homes being built in 2024.




                    How many residential units will there be and what types of
                    homes will be offered?                                                          



                    Will Collier County taxpayers foot the bill for the new Town
                                                                                                    
https://bellmarvillage.com                                                                                 7/10
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                           Exhibit 3
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                                                                                             Ron DeSantis
                           FLORIDA DEPARTMENT OF                                                 Governor

                           Environmental Protection                                        Jeanette Nuñez
                                                                                              Lt. Governor
                                             South District                               Shawn Hamilton
                                             PO Box 2549                                        Secretary
                                      Fort Myers FL 33902-2549
                                     SouthDistrict@FloridaDEP.gov

                                         November 20, 2023

                                    STATE 404 PROGRAM
                                      PUBLIC NOTICE

                                 Permit Application No. 423130-001

TO WHOM IT MAY CONCERN: The Department of Environmental Protection has received an
application for a State 404 Program permit pursuant to 62-331, Florida Administrative Code, as
described below:

APPLICANT:            CAM7-Sub, LLC/Cameratta Companies, LLC
                      ℅ Ray Blacksmith
                      21101 Design Parc Lane, Suite 103
                      Estero, Florida 33928
                      (239) 425-8662
                      RBlacksmith@camerattacompanies.com

LOCATION: The Project site is located in Sections 2, 3, 10, 11, 14, 15, 23-26, and 34-36; Township 46
South; Range 27 East and Section 35; Township 45 South; Range 27 East; Lee County. The
surrounding land uses include single-family home sites to the north; Corkscrew Regional Ecosystem
Watershed (CREW) lands to the south; CREW lands, single-family home sites, and a segment of
Corkscrew Road to the east; and mining and agricultural uses to the west. Additionally, an east-west
segment of Corkscrew Road bisects the property before it turns and heads north.

APPROXIMATE CENTRAL COORDINATES:
Latitude 26.485570° Longitude -81.599305°

PROJECT PURPOSE: The Project’s overall purpose is to construct an economically viable mixed-used
development in southeast Lee County to meet local demand for this type of development. The Project
also includes roadways, parking, amenities, preserve areas, surface water management system, and other
associated infrastructure .

PROPOSED WORK: The applicant seeks authorization under Section 373.4146, Florida Statutes (F.S.),
to discharge dredge or fill material into “Waters of the United States” (WOTUS). The authorized
discharges would total approximately 12.87± acres, and would occur in connection with construction of
roads, utility features, pedestrian trail crossings, graded slopes along with stormwater management and
development areas, and commercial areas. The authorized discharges would impact approximately 1
percent of the wetlands on-site, avoiding the remaining 99 percent. All impacts will be mitigated for
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through the purchase of 4.57 Freshwater Forested Wetland Mitigation Credits from Corkscrew Regional
Mitigation Bank. The remaining 1,173.58± acres of existing wetlands and other habitats will be
preserved and enhanced in accordance with Lee County indigenous vegetation requirements, but not
used as mitigation for wetland impacts.

Structures to be erected on fills include road, utility, and pedestrian trail crossings; residential areas; and
graded slopes along the perimeters of development areas and stormwater management lakes. All
wetlands and surface waters delineated using Chapter 62-340, Florida Administrative Code (F.A.C.) and
regulated under Part IV of Chapter 373, F.S. were determined to be WOTUS.

The development will occur in multiple phases, however the jurisdictional impacts from the project are
12.87 acres of FNAI bottomland wetlands and are anticipated to be completed within the initial five-year
permit timeframe.

EXISTING CONDITIONS: The majority of the site currently supports active citrus grove and other
agricultural operations, while the remainder of the site contains scattered wetland and upland vegetation
with varying amounts of disturbance and exotic vegetation. A total of 90 vegetative associations and
land uses, as defined by the Florida Land Use, Cover and Forms Classification System (FLUCFCS)
codes, were identified on the property. The dominant land uses on the property are citrus grove, sod
farm, and cypress, which together occupy 5,283.83± acres or 79.1 percent of the site. Ditches,
reservoirs, berms, borrow areas, cow pond, and spoil area associated with the agricultural uses occupy
492.23± acres or approximately 7.4 percent of the site. The site contains disturbed native wetland
systems including mixed wetland hardwoods, hydric cabbage palm, hardwood-conifer mixed, hydric
pine, cypress, cypress/pine/cabbage palm, freshwater marsh, and wet prairie. The site also contains non-
native wetland habitats including low pasture, hydric melaleuca, hydric Brazilian pepper, and hydric
disturbed land. The on-site wetland habitats have been disturbed by ditching, berms, agricultural
activities (i.e., citrus groves, row crops, and cattle grazing), and exotic vegetation infestation.

The jurisdictional wetlands constitute a total of 1,186.45± acres or approximately 17.8 percent of the
Project site. The prominent wetland features are Low Pasture, Hydric (FLUCFCS Code 262);
Melaleuca, Hydric (FLUCFCS Code 4241); Cabbage Palm, Hydric (FLUCFCS Code 4281); Wax
Myrtle/Willow, Hydric (FLUCFCS Code 4291); Mixed Wetland Hardwoods, Disturbed (FLUCFCS
Code 6179); Willow/Pop Ash, Disturbed (FLUCFCS Code 6189); Cypress, Disturbed (FLUCFCS Code
6219); Cypress/Pine/Cabbage Palm, Disturbed (FLUCFCS Code 6249); Pine, Hydric, Disturbed
(FLUCFCS Code 6259); Mixed Wetland Forest, Disturbed (FLUCFCS Code 6309); Freshwater Marsh,
Disturbed (FLUCFCS Code 6419); Wet Prairies, Disturbed (FLUCFCS Code 6439); and Disturbed
Land, Hydric (FLUCFCS Code 7401) with varying degrees of exotic infestation. “Other Surface
Waters” (OSW) constitute a total of 307.08± acres or 4.6 percent of the Project site. The prominent
OSW features include Drainage Canal/Ditch (FLUCFCS Code 514), Reservoirs (FLUCFCS Code 533),
and Borrow Area (FLUCFCS Code 742).

AVOIDANCE AND MINIMIZATION INFORMATION: Based on information provided by the
applicant, the overall project has been designed to preserve existing wetlands and wildlife habitat, while
concentrating development within areas that are already in active use by large-scale agricultural
operations in accordance with federal, state, and local conservation initiatives. The proposed site plan
has been designed to avoid impacting 98.9 percent (1,173.58± acres) of on-site jurisdictional wetlands

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and 56.5 percent (173.74± acres) of on-site OSW in perpetuity. Additionally, 1,910.36± acres of farm
fields will be restored to natural wetland and upland habitat types.
The applicant also considered alternative site designs. The present design was chosen due to regional
environmental considerations and economic feasibility of the Project, and to provide greater continuity
between on-site preserve areas. The proposed site plan has been designed to avoid and minimize wetland
impacts as much as feasibly possible by concentrating the majority of the proposed development within
the existing agricultural fields. Development of the Project will result in 12.87± acres of wetland
impacts and 132.65± acres of OSW impacts. The majority (76.5 percent) of the wetland impacts are to
wetlands that have been historically disturbed by agricultural operations, ditching, and exotic vegetation
infestation (i.e., greater than 50 percent coverage by Brazilian pepper and melaleuca). The OSWs
proposed for impact consist of Ditch (FLUCFCS Code 514) and Reservoir (FLUCFCS Code 533). The
OSWs within the Project are man-made and are associated with active agricultural operations.

COMPENSATORY MITIGATION: A Uniform Mitigation Assessment Methodology (UMAM)
analysis was conducted for the Project to quantitatively evaluate the current functional value of the on-
site wetlands. According to the UMAM analysis, the proposed wetland direct and secondary impacts
result in a functional loss of 4.57 UMAM units. As such, the applicant will purchase 4.57 Freshwater
Forested Wetland Mitigation Credits from Corkscrew Regional Mitigation Bank.

CULTURAL RESOURCES:
The Department has requested review from the State Historic Preservation Officer (SHPO) and those
federally recognized Tribes with concerns in Florida and the permit area. No comments have been
received. The proposed project area encompasses 6,676 ac located within
Section/Township/Range: 2 / 46S / 27E ; 3 / 46S / 27E ; 10 / 46S / 27E ; 11 / 46S / 27E ; 14 / 46S / 27E ;
15 / 46S / 27E ; 23 / 46S / 27E ; 24 / 46S / 27E ; 25 / 46S / 27E ; 26 / 46S / 27E ; 34 / 46S / 27E ; 35 /
46S / 27E ; 36 / 46S / 27E of Lee County; (Latitude 26° 28' 20.3327" Longitude -81° 35' 14.4507"). The
proposed project is construction of a large mixed-use development including 10,000 single family
residences, commercial areas, amenities, and associated infrastructre. A map depicting the project
boundaries is attached for your reference.

The Area of Potential Effects (APE) was previously subjected to a cultural resource assessment survey
(CRAS) to locate any archaeological and/or historical sites and to assess their potential eligibility for
inclusion in the National Register of Historic Places (NRHP). Several surveys have been conducted
within the referenced permit area (FMSF Manuscript No(s). 11014, 14907, 15304, 21903, 26188,
27721). Located within the project area are two sites (LL02473, ineligible), and LL02474 (potentially
eligible, but not evaluated by SHPO due to insufficient information). Our final determination relative to
historic and cultural resource impacts is subject to review by and coordination with the State Historic
Preservation Officer (SHPO) and those federally recognized tribes with concerns in Florida and the
Permit Area.

A Phase I cultural resource assessment survey for the Project site was conducted by Archaeological and
Historical Conservancy, Inc. (AHC) in July through November 2007. The surveys resulted in the
documentation of one unrecorded archaeological site. In April of 2022, AHC conducted a Phase II
cultural resource assessment on the archaeological site and concluded the site was not eligible for listing
in the National Register due to its inchoate character, lack of determinable historical association, and
extent of disturbances to the site. On September 8, 2022, the Florida Department of State Division of

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Archaeological resources sent a letter concurring with the presented survey results and recommendations
prepared by AHC and found that the proposed Project will have no effect on historic properties listed, or
eligible for listing, in the National Register of Historic Places, or otherwise of historical, archaeological,
or architectural value.

FEDERALLY AND STATE-LISTED SPECIES: FEDERALLY AND STATE-LISTED SPECIES: The
Department has received final comments from the Florida Fish and Wildlife Conservation Commission
(FWC) and the U.S. Fish and Wildlife Service (USFWS), dated November 6, 2023.

The following determinations of the project’s effect to federally listed species, and proposed to be listed
species, are as follows: “may affect and is likely to adversely affect” the Florida panther, Audubon’s
crested caracara, eastern indigo snake, and tricolored bat (proposed to be listed), “may affect, but is not
likely to adversely affect” the Florida bonneted bat, wood stork, Everglade snail kite, and red-cockaded
woodpecker; and have “no effect” on the Florida scrub-jay. For State-listed species, the project area may
provide habitat for the following: Gopher tortoise, Florida burrowing owl, Florida sandhill crane, Little
blue heron, Tricolored heron, Snowy plover, and Big Cypress fox squirrel.

State 404 permit conditions have been recommended by the FWC and the USFWS for these species,
with the exception of the Everglade Snail Kite, Red-Cockaded Woodpecker, and the Florida scrub-jay.

Discussions are provided below for federally listed species, and proposed to be listed species, that may
be affected by and are likely to be adversely affected by the proposed project. These discussions include
summaries of recommended permit conditions from the FWC/USFWS letter that will address the
anticipated adverse impacts.

Florida panther
The permittee will, at its sole cost and expense, ensure the construction of one large mammal wildlife
crossing along the four-lane spine road and twelve (12) small wildlife crossings within the project site.
Contributions to the Fish and Wildlife Foundation of Florida Fund (Fund) will be made to fund panther
conservation and research as described in the permit condition. These contributions include the deposit
of $350 per development acre of land (or approximately $1,186,150) within the development footprint
of the project upon issuance of the permit, and $200 per each building permit at date of issuance (or
approximately $2,000,000) and $200 per each home resale to the Fund. Annual reports confirming the
sale and contribution to the Fund are required. Contributions to the Lee County Proportionate Share Fee
fund will be made of approximately $20,000,000 for Corkscrew Road roadway improvements, inclusive
of pavement widening, flow-way culverts, and wildlife crossings. Educational information regarding
panthers and pets, and information on how to live with wildlife, shall be included in the Homeowner
Association required documents provided to residents, and provided to community association managers
and maintenance staff. USFWS staff concluded that the project “may affect and is likely to adversely
affect” the Florida panther but “is not likely to jeopardize” the species, provided the recommended
permit conditions are included in the State 404 permit.

Audubon’s crested caracara
Prior to construction and any clearing activities, surveys for caracara during nesting season are required
within 4,920 feet from previously documented or newly discovered nests. Activities shall be conducted
outside of caracara nesting season if within a 984-foot buffer of documented nest sites, with additional

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avoidance conditions, and if activities are to occur in the most recent nesting season, restoration shall be
required per the permit condition. USFWS staff concluded that the project “may affect and is likely to
adversely affect” the Audubon’s crested caracara but “is not likely to jeopardize” the species, provided
the recommended permit conditions are included in the State 404 permit.

Eastern indigo snake
The USFWS’s 2021 Standard Protection Measures for the Eastern Indigo Snake will be followed during
construction of the project and restoration of the conservation area. Construction staff will be provided
appropriate identification and conservation informational brochures, and conservation areas will be
maintained per the project’s Indigenous Preserve, Restoration, and Management Plan. USFWS staff
concluded that the project “may affect and is likely to adversely affect” the Eastern indigo snake, but “is
not likely to jeopardize” the species, provided the recommended permit conditions are included in the
State 404 permit.

Tricolored bat
The tricolored bat has been proposed for federal listing as endangered but is still under review. Cavity
tree and roost surveys for bats are required 30 days prior to removal. Bat breeding season will be
avoided for activities involving the removal of trees, snags, or structures. If evidence of use by bats is
found, these activities will be discontinued, and the permittee shall contact the USFWS for technical
assistance. Activities with heavy equipment shall not occur within a 250-foot buffer of known or
suspected bat roosts. The proposed buffer lake system shall be created, and preservation and
enhancement of 1,173.58± acres of on-site wetlands is required to promote bat foraging opportunities. In
addition, approximately 447 acres of wetland flow-way marsh will be created from existing agricultural
lands to provide additional foraging habitat. Riparian habitat shall be enhanced by planting native
vegetation along the lake shorelines (i.e., littoral zone plantings), and planting of native trees and shrubs
within open space and buffer areas is required.

Widespread application of insecticides shall be avoided in areas where bats are known or expected to
forage or roost. Within the proposed Conservation Areas, mature trees and snags shall be retained to
provide roosting habitat, and prescribed fire will be used as a management tool to promote foraging
habitat. International Dark-Sky Association lighting initiatives will be encouraged to minimize the use
of artificial lighting. USFWS staff concluded that the project “may affect and is likely to adversely
affect” the tricolored bat but “is not likely to jeopardize” the species, provided the recommended permit
conditions are included in the State 404 permit.

See the FWC and USFWS correspondence for additional information regarding the assessment of
adverse impacts to species and their habitats. DEP Nexus link to FWC/USFWS comments and
recommended permit conditions:
https://depedms.dep.state.fl.us:443/Oculus/servlet/shell?command=getEntity&[guid=45.102537.1]&[profile=Permitting_Auth
orization

OTHER INFORMATION:
The Florida Department of Environmental Protection (FDEP) issued Environmental Resource Permit
(ERP) No. 0284086-002 on June 2011 for a limestone mine on the northern 4,202± acre portion of the
Project site known as Old Corkscrew Plantation (OCP) Mine that expires in June 2031.



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Water Quality Certification was previously provided on August 30 th, 2023, through the issuance of
SFWMD ERP permit number 36-109267-P.
COMMENTS regarding the potential authorization of the work proposed may be submitted through the
business portal (Public Comment | DEP Business Portal (fldepportal.com)) or in writing to Jonathan
Guinn at Florida Department of Environmental Protection, South District Office, PO Box 2549, Fort
Myers, Florida 33902-2549, or by electronic mail at SD-ERPcomments@floridadep.gov, within 30 days
from the date of this notice. Written comments will be made part of the record and should reference the
above permit application number. Objections must be factual, specific, and fully describe the reasons
upon which any objection is founded. Any comments received will be considered by the Department to
determine whether to issue, modify, condition, or deny a permit for this proposal. Unless a written
request is filed with the Department within the 30-day public comment period, the Department may
decide on the application without a public meeting.

EVALUATION: The determination as to whether a permit will be issued, or a public meeting held, will
be based on an evaluation of all relevant factors, including the public comments received and the effect
of the proposed work on the public interest, including, but not limited to, fish, wildlife, historical
resources, and pollution. The specific permit decision criteria can be found in Chapter 62-331, Florida
Administrative Code.

The Department is soliciting comments from the public; federal, state, and local agencies and officials;
Indian Tribes; and other interested parties in order to consider and evaluate the impacts of this proposed
activity. To make this consideration, comments are used to assess impacts to endangered species,
historic properties, water quality, general environmental effects, and other public interest factors.
Comments are also used to determine the need for a public meeting and to determine the overall public
interest of the proposed activity.

FOR FURTHER INFORMATION regarding this application, contact the project manager, Jonathan
Guinn, in writing at P.O. Box 2549, Fort Myers, FL. 33902; by electronic mail at
Jonathan.guinn@floridadep.gov ; or by telephone at 239-344-5650. Please include the permit
application number referenced at the top of this page in any correspondence.

REQUEST FOR PUBLIC MEETING: Any person may request a public meeting. The request must be
submitted to Jonathan Guinn at P.O. Box 2549, Fort Myers, FL. 33902, or by electronic mail at SD-
ERPcomments@dep.state.fl.us within the designated comment period of the notice and must state the
specific reasons for requesting the public meeting.

Full file can be accessed here:
Florida Public Information Portal
https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_423130/facility!search




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